                                                                                                                                                                                                       Page:       1
                                         Case 16-38000              Doc 25         Filed 04/27/17 Entered 04/27/17 15:50:06                                 Desc Main
                                                                                     Document FORM 1
                                                                                                  Page 1 of 3
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:               16-38000                        JSB            Judge:        Janet S. Baer                                Trustee Name:                      RONALD R. PETERSON
Case Name:             MITAR GOLUBOVIC                                                                                           Date Filed (f) or Converted (c):   12/01/2016 (f)
                                                                                                                                 341(a) Meeting Date:               01/03/2017
For Period Ending:     03/31/2017                                                                                                Claims Bar Date:                   06/15/2017


                                    1                                               2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 2012 Bmw 6 Mileage: 60,000 Some Minor Cosmetic Damage                               50,949.00                        0.00                                                       0.00                       0.00
  2. 2005 Volvo 580 Approximately 1.2 Million Miles. Due For En                           6,000.00                        0.00                                                       0.00                       0.00
  3. Shirts, Shoes, Pants And Various Items Of Clothing.                                     200.00                       0.00                                                       0.00                       0.00
  4. Cash                                                                                    120.00                       0.00                                                       0.00                       0.00
  5. Chase Bank                                                                              150.00                       0.00                                                       0.00                       0.00


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $57,419.00                      $0.00                                                     $0.00                        $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  April 22, 2017: Sie ed Volvo Class 8 truck on 3/24/17, and it is in Schmitt s Truck Repair s yard. I will put it up for sale, and should recover between $15,000 and $25,000.




  Initial Projected Date of Final Report (TFR): 12/31/2017            Current Projected Date of Final Report (TFR): 12/31/2017

  Trustee Signature:       /s/ RONALD R. PETERSON              Date: 04/27/2017
                           RONALD R. PETERSON
                           JENNER & BLOCK LLP
                           353 N. CLARK STREET
                           38TH FLOOR
                           CHICAGO, IL 60654-3456
                                                                                                                                                                                         Page:           1
                                     Case 16-38000                Doc 25   Filed 04/27/17
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                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 16-38000                                                                                       Trustee Name: RONALD R. PETERSON
      Case Name: MITAR GOLUBOVIC                                                                                     Bank Name:
                                                                                                            Account Number/CD#:


  Taxpayer ID No:                                                                                  Blanket Bond (per case limit): $54,824,000.00
For Period Ending: 03/31/2017                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                   5                  6                     7

Transaction Date    Check or            Paid To / Received From                   Description of Transaction              Uniform Tran.    Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                 Code                                                          ($)
                                No Bank Accounts



                                                                                                      COLUMN TOTALS                                    $0.00                $0.00
                                                                                                            Less: Bank Transfers/CD's                  $0.00                $0.00
                                                                                                      Subtotal                                         $0.00                $0.00
                                                                                                            Less: Payments to Debtors                  $0.00                $0.00
                                                                                                      Net                                              $0.00                $0.00




                                                                             Page Subtotals:                                                           $0.00                $0.00
                                                                                                                                                             Page:     2
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                                                                                         TOTAL OF ALL ACCOUNTS
                                                                                                                                         NET             ACCOUNT
                                                                                                       NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                              -                                                                  $0.00                  $0.00                 $0.00
                                                                                                                 $0.00                  $0.00                 $0.00

                                                                                                     (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                             transfers)            to debtors)
                                              Total Allocation Receipts:                    $0.00
                                              Total Net Deposits:                           $0.00
                                              Total Gross Receipts:                         $0.00



Trustee Signature:   /s/ RONALD R. PETERSON   Date: 04/27/2017

                     RONALD R. PETERSON
                     JENNER & BLOCK LLP
                     353 N. CLARK STREET
                     38TH FLOOR
                     CHICAGO, IL 60654-3456




                                                                      Page Subtotals:                                       $0.00                $0.00
